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                                                   DEBTORS NOTICE OF FILING OF [DOC 212]
                                                   IN ERROR.



                                           Date: 9/13/22
                                           Time: 11:00am
                                           Department 5C




        9/2/2022
        XXXXXXX
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  Fill in this information to identify the case:

  Debtor 1               JAMIE LYNN GALLIAN
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

                                           CENTRAL
  United States Bankruptcy Court for the: ___________            CALIFORNIA
                                                     District of ______________________

               8:21-BK-11710-ES
  Case number ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                    04/22

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?                          ___________________________________________________________________________________________________________
                                      Department of Treasury - Internal Revenue Service
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                 ✖ No
   acquired from
   someone else?                          Yes. From whom?         ______________________________________________________________________________________________________


3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      Internal Revenue Service
                                      _____________________________________________________                       Internal Revenue Service
                                                                                                                  _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     P.O. Box 7346
                                      ______________________________________________________                      P.O. Box 7317
                                                                                                                  ______________________________________________________
                                      Number Street                                                               Number Street
                                       Philadelphia                      PA   19101-7346
                                      ______________________________________________________
                                                                                                                      Philadelphia           PA             19101-7317
                                                                                                                  ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                                     1-800-973-0424
                                      Contact phone ________________________                                                     1-800-973-0424
                                                                                                                  Contact phone ________________________

                                      Contact email ________________________                                      Contact email ________________________

                                      Creditor Number: __________________
                                                       40861539
                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend              ✖ No
   one already filed?                                                                                                                  Filed on
                                          Yes. Claim number on court claims registry (if known)             ________                              ________________________
                                                                                                                                                  MM / DD       / YYYY



5. Do you know if anyone              ✖ No
   else has filed a proof                 Yes. Who made the earlier filing?          _____________________________
   of claim for this claim?




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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number           No
   you use to identify the       ✖ Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: See
                                                                                                                            ____Attachment
                                                                                                                                  ____ ____ ____
   debtor?



7. How much is the claim?                                3,416.58 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                    No
                                                                             ✖ Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Taxes
                                 ______________________________________________________________________________



9. Is all or part of the claim   ✖ No
   secured?                         Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                               Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                               Motor vehicle
                                               Other. Describe:            _____________________________________________________________



                                           Basis for perfection:        _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                     amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed)_______%
                                               Fixed
                                               Variable



10. Is this claim based on a     ✖ No
    lease?
                                    Yes. Amount necessary to cure any default as of the date of the petition. $____________________


11. Is this claim subject to a      No
    right of setoff?
                                                                See Attachment
                                 ✖ Yes. Identify the property: ___________________________________________________________________




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12. Is all or part of the claim           No
    entitled to priority under
    11 U.S.C. § 507(a)?             ✖ Yes. Check one:                                                                                              Amount entitled to priority

   A claim may be partly                       Domestic support obligations (including alimony and child support) under
   priority and partly                         11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                             $____________________
   nonpriority. For example,
   in some categories, the                     Up to $3,350* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                       personal, family, or household use. 11 U.S.C. § 507(a)(7).                                         $____________________
   entitled to priority.
                                               Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
                                               bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                  $____________________
                                               11 U.S.C. § 507(a)(4).
                                                                                                                                                                3,417.25
                                                                                                                                                  $____________________
                                          ✖ Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).
                                               Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                  $____________________

                                               Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                  $____________________

                                          * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                ✖ I am the creditor.
 FRBP 9011(b).                     I am the creditor’s attorney or authorized agent.
 If you file this claim            I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
                                   I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 5005(a)(2) authorizes courts
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                                                   08/11/2022
                              Executed on date _________________
                                                           MM / DD / YYYY



                                     /s/ ANGELA SMITH
                                     ________________________________________________________________________
                                       Signature


                                  Print the name of the person who is completing and signing this claim:


                                  Name
                                                          ANGELA                                                                   SMITH
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  Bankruptcy Specialist
                                                         _______________________________________________________________________________________________

                                  Company
                                                          Internal Revenue Service
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address
                                                          Insolvency Group 7 300 North Los Angeles St, M/S 5022
                                                         _______________________________________________________________________________________________
                                                         Number Street
                                                          Los Angeles                                                CA              90012
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone           213-372-4381
                                                         _____________________________                              Email           angela.r.smith@irs.gov
                                                                                                                                   ____________________________________




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Proof of Claim for                                                                                                 Form      410
Internal Revenue Taxes                                                                                             Attachment

                                                                                                         Case Number
Department of the Treasury/Internal Revenue Service
                                                                                                          8:21-BK-11710-ES
    In the Matter of: JAMIE LYNN GALLIAN
                              AKA JAMIE L GALLIAN                                                        Type of Bankruptcy Case
                              16222 MONTEREY LN SP #376                                                   CHAPTER 7A
                              HUNTINGTON BEACH, CA 92649
                                                                                                         Date of Petition
                                                                                                          07/09/2021
The United States has the right of setoff or counterclaim. However, this determination is based on available data and is not intended to
waive any right to setoff against this claim debts owed to this debtor by this or any other federal agency. All rights of setoff are preserved
and will be asserted to the extent lawful.




 Unsecured Priority Claims                  under section 507(a)(8) of the Bankruptcy Code

 Taxpayer ID
 Number             Kind of Tax        Tax Period         Date Tax Assessed              Tax Due                  Interest to Petition Date
 XXX-XX-3936        INCOME             12/31/2018         07/19/2021                    $3,113.00                 $304.25

                                                                                        $3,113.00                 $304.25



                                       Total Amount of Unsecured Priority Claims:                                 $3,417.25
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                                     DEBTOR'S NOTICE OF DOC 212 FILED IN ERROR




On 9/2/ xxxxxxxxxxx




      September 2, 2022
       XXXXXXXXX
